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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY
                                  (CAMDEN VICINAGE)

 In re:                                                 (Hon. Gloria M. Burns)

 Shapes/Arch Holdings L.L.C.,                           Chapter 11
 Shapes L.L.C., Delair L.L.C., Accu-Weld
 L.L.C., and Ultra L.L.C.                               Lead Case No. 08-14631 (GMB)
                                                             (Jointly Administered)
                Debtors


    COMBINED OBJECTION TO (I) CONFIRMATION OF DEBTORS’ THIRD
 AMENDED JOINT PLAN OF REORGANIZATION AND (II) DEBTORS’ MOTION TO
            DISALLOW CLAIMS FOR CONTRIBUTION AND IN
               THE ALTERNATIVE TO ESTIMATE CLAIMS

 TO:      HONORABLE GLORIA M. BURNS
          UNITED STATES BANKRUPTCY JUDGE

          The above-referenced PRPs (the “PRPs”), by and through Drinker Biddle & Reath LLP,

 hereby object to confirmation of the Debtors’ Third Amended Joint Plan of Reorganization (the

 “Plan”) and Debtors’ Motion to Disallow Claims for Contribution and in the Alternative to Estimate

 Claims (the “Claims Motion”), and respectfully state as follows:

                                           BACKGROUND

          1.    On March 16, 2008 (“the Petition Date”), Shapes/Arch Holdings, L.L.C. and

 certain of its subsidiaries, Shapes L.L.C., Delair L.L.C., Accu-Weld L.L.C. and Ultra L.L.C.

 (collectively, the “Debtors”), filed voluntary petitions for relief under Chapter 11 of title 11 of

 the United States Code, 11 U.S.C. §§ 101 et seq., (the “Bankruptcy Code”). Since filing for
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 bankruptcy, the Debtors have continued in possession of their assets as debtors-in-possession

 pursuant to sections 1107 and 1108 of the Bankruptcy Code.

            2.       With respect to the D’Imperio and Ewan sites, the Debtors have agreed contractually

 to their percentage of remediation costs and the PRPs have incurred costs related to the Debtors’

 share of liability.1 PRPs proofs of claim with respect to these two sites, in addition to CERCLA

 contribution liability and contractual liability, also set forth other theories of liability, including,

 direct liability under section 107 of CERCLA.

            3.       With respect to the Lightman Drum site, the PRPs possess various “claims”, as

 more fully set forth in their proof of claim.                   There exists a contractual claim for certain

 remediation costs to which the Debtors are allocated a percentage of the remediation costs. PRPs

 remaining claims are not “claims” in the technical bankruptcy sense and under applicable Third

 Circuit precedent and PRPs have acknowledged such in their proof of claim.

                                       OBJECTION TO CONFIRMATION

            4.       The discharge injunction currently provides in relevant part, “…all Persons or

 Entities who have held, hold or may hold any Claim against or Interest in the Debtors…”. This

 language is overly broad, purports to discharge claims that do not arise prior to the Effective

 Date, and does not comply with applicable law. See e.g. In re M. Frenville Co., Inc., 744 F.2d

 332, 335, 337 (3d Cir. 1984) (“Only proceedings that could have been commenced or claims that

 arose before the filing of the bankruptcy petitions are automatically stayed.”). PRPs propose that

 the Court condition confirmation upon a modification of the discharge injunction and propose

 the following language: "...all Persons or Entities who have held, hold or may, as of the Effective

 Date of the Plan, hold any Claim against or Interest in the Debtors...". PRPs also join and



 1
     Due to the confidential nature of the agreement, a copy is not attached to this Objection.
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 incorporate by reference the arguments raised in the Protective Objection of SL Industries, Inc.

 to Confirmation of Debtors’ Third Amended Joint Chapter 11 Plan of Reorganization.

        5.      To the extent the Debtors make any modifications to the Plan between the time of

 filing this objection and a hearing to consider confirmation or issues arise impacting PRPs rights

 in this case, PRPs reserve their right to raise and be heard with respect to other and further

 objections to the Third Amended Plan.

                              OBJECTION TO CLAIMS MOTION

        6.      Debtors filed the Claims Motion on shortened notice. Based on a review of the

 Claims Motion and the related motion to shorten notice, it appears that Debtors are concerned

 about the impact of the claims on their ability to confirm their Plan. Because the PRPs did not

 vote against the Plan, the exigencies of moving forward with respect to the claims filed by the

 PRPs is ameliorated.

        7.      To the extent the Debtors intend to proceed with the Claims Motion with respect

 to the PRPs, PRPs disagree that their claims are subject to disallowance under section

 502(e)(1)(B) or any other applicable sections of the Bankruptcy Code. As set forth in the claims

 filed with respect to D’Imperio, Ewan and part of Lightman Drum, PRPs have asserted direct

 contractual claims against the Debtors and for which amount have been expended on account of

 the Debtors’ share of liability. Such claims are not “contingent”, nor does there exist co-liability

 with the Debtors on account of such claims. Accordingly, Debtors are not entitled to mandatory

 disallowance. See In re RNI Wind Down Corporation, 369 B.R. 174 (Bankr. D. Del. 2007).

        8.      Further, PRPs have also asserted direct claims under section 107(a) of CERCLA,

 which claims are also not subject to disallowance. See United States v. Atlantic Research, 127 S.

 Ct. 2331 (2007).
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        9.      To the extent Debtors seek to estimate the claims with respect to the these sites,

 PRPs believe that the parties should confer about the terms of a scheduling order, as discovery

 will be required prior to an evidentiary presentation.

        10.     With respect to Lightman Drum, since the most significant part of the “claim”

 does not yet exist under applicable Third Circuit precedent, the Court should not undertake to

 disallow or estimate such claim.

        11.     PRPs also join and incorporate by reference the arguments raised in the Objection

 to Debtors’ Motion to Disallow Claims for Contribution and in the Alternative to Estimate

 Claims raised by the Generator Defendants and SL Industries, Inc..

                                          CONCLUSION

        WHEREFORE, PRPs respectfully request that this Court enter an order denying (i)

 confirmation of the Plan and (ii) relief with respect to the Claims Motion and granting such other

 relief as the Court deems just and proper.

                                               Respectfully submitted,

                                               DRINKER BIDDLE & REATH LLP


 Dated: July 2, 2008                           By: /s/ David B. Aaronson
                                                       David B. Aaronson
